USCA4 Appeal: 19-7899       Doc: 28          Filed: 09/18/2023       Pg: 1 of 2




                                                                           U.S. Department of Justice


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                                                                           September 18, 2023

        Nwamaka Anowi, Clerk
        United States Court of Appeals for the Fourth Circuit
        1100 East Main Street, Suite 501
        Richmond, Virginia 23219-3517

               Re:     United States v. Nathaniel Watkins, No. 19-7899
                       Response to letter under Fed. R. App. P. 28(j)

        Dear Ms. Anowi:

                In the time since the government filed its opening brief, this Court has clarified that
        defendant’s conviction for a continuing criminal enterprise is not a covered offense under § 404
        of the First Step Act. United States v. Thomas, 32 F.4th 420 (4th Cir. 2022) (per curiam). But
        some of defendant’s convictions do qualify as covered offenses. Terry v. United States, 141 S.
        Ct. 1858, 1863 (2021).

                 The Supreme Court has concluded that § 404 does not trigger a de novo resentencing.
        Concepcion v. United States, 142 S. Ct. 2389, 2396 (2022) (a district court “may consider other
        intervening changes of law (such as changes to the Sentencing Guidelines)” in adjudicating a
        § 404 motion, but “the First Step Act does not compel courts to exercise their discretion to
        reduce any sentence based on those arguments”). And § 404 does not entitle a defendant to
        revisit an unaffected statutory mandatory penalty on another count, United States v. Gravatt, 953
        F.3d 258, 264 n.5 (4th Cir. 2020) (“Of course, statutory mandatory minimum terms remain in
        effect for certain drug offenses. Even if a defendant’s sentence involves a covered offense, the
        district court’s review of a defendant’s First Step Acct motion cannot avoid those statutory
        requirements.”). For example, although this Court did not elaborate on the point, a defendant
        who faces a mandatory sentence, such as a death sentence, on a count that is not a covered
        offense could not revisit the death sentence by pointing to a conviction on a count that was a



                                                        1
USCA4 Appeal: 19-7899       Doc: 28          Filed: 09/18/2023      Pg: 2 of 2




        covered offense. United States v. Roane, 51 F.4th 541, 552 (4th Cir. 2022) (affirming denial of
        sentence reduction on concurrent count).

                Here, however, defendant’s covered offenses were grouped with the continuing criminal
        enterprise count, and the sentences formed a sentencing package. Although under the then-
        mandatory guidelines, a change to the statutory penalty range on the covered offenses would not
        have altered defendant’s life sentence, under Concepcion, the guidelines would not be mandatory
        in evaluating a sentence reduction under § 404, and a court could revisit the sentence on the
        continuing criminal enterprise conviction.

                                                    Respectfully,

                                                    Jessica D. Aber
                                                    United States Attorney

                                             By:    ___________/s/______________
                                                    Richard D. Cooke
                                                    Assistant United States Attorney




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